                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

  NATIVE VILLAGE OF VENETIE
  TRIBAL GOVERNMENT, et al.,

                Plaintiffs,

         v.                                             Case No. 3:20-cv-00223-SLG

  DEBRA HAALAND, et al.,

                Defendants

         and

  NORTH SLOPE BOROUGH, et al.,

                Intervenor-Defendants.

     [PROPOSED] ORDER RE JOINT STATUS REPORT AND UNOPPOSED
                   MOTION TO CONTINUE STAY

       Upon consideration of the parties’ Joint Status Report and Unopposed Motion to

Continue Stay, ECF No. 105, IT IS ORDERED that the joint status report is ACCEPTED

and the motion to continue the stay is GRANTED.

       A joint status report indicating what further proceedings may be necessary to resume

or resolve this litigation shall be filed no later than February 28, 2025.

       Dated this _____ day of January, 2025.



                                              HON. SHARON L. GLEASON
                                              UNITED STATES DISTRICT JUDGE




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